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 7 COMPANY

 8

 9                                  UNITED STATES DISTRICT COURT

10                    CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION

11

12 GREAT AMERICAN INSURANCE                              Case No. 5:20-cv-1655
   COMPANY, an Ohio corporation,
13                                                       COMPLAINT FOR DECLARATORY
                Plaintiff,                               RELIEF AND REIMBURSEMENT
14
          v.
15
   HARDY & HARPER, INC., a California
16 corporation,

17                    Defendant.

18
19             Plaintiff Great American Insurance Company (hereinafter referred to as “Plaintiff” or

20 “Great American”) submits the following Complaint for Declaratory Relief and Reimbursement:

21                                          NATURE OF ACTION

22             1.     This is an action for declaratory relief and reimbursement arising from an insurance

23 coverage dispute under an insurance policy issued to Hardy & Harper, Inc. by Great American (the

24 “Excess Policy”). Great American contends it had no obligation to indemnify Hardy & Harper, Inc.

25 (“H&H”) in an underlying action against H&H, styled Canyon Lake Property Owners Ass’n v. Hardy

26 & Harper, et al., Riverside Superior Court Case No. RIC 1506750 (the “Canyon Lake action”). In the

27 Canyon Lake action, the plaintiffs alleged that H&H negligently performed paving work as the general

28 contractor on a project known as the Canyon Lake Rehabilitation Project, which resulted in excessive

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                                                           1 and premature cracking of the asphalt at the project.

                                                           2             2.    H&H recently settled the Canyon Lake action and demanded that Great American

                                                           3 contribute $1,500,000 to the settlement. Great American agreed to pay $1,500,000 towards the

                                                           4 settlement under a complete reservation of rights, including the right to seek reimbursement from

                                                           5 H&H for that payment, pursuant to the principles articulated in Blue Ridge Insurance Co. v. Jacobsen

                                                           6 (2001) 25 Cal. 4th 489 (“Blue Ridge”) and other California law.

                                                           7             3.    Great American contends that, because the settlement of the underlying action against

                                                           8 H&H is not covered by the Excess Policy, Great American is entitled to be reimbursed for its

                                                           9 $1,500,000 settlement payment, pursuant to the principles articulated in Blue Ridge and other

                                                          10 California law.

                                                          11             4.    The settlement is not covered under the Excess Policy because, among other things, the
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                                                          12 property damage at issue– cracked asphalt– was to H&H’s own work. Therefore, the “your work”
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                                                          13 exclusion in the Excess Policy bars coverage. Any alleged property damage to property other than

                                                          14 H&H’s own work was de minimis and well within the limits of the primary policy directly underlying

                                                          15 the Policy. Great American is informed and believes that H&H contends otherwise.

                                                          16                                 JURISDICTIONAL ALLEGATIONS
                                                          17             5.    This is an action for declaratory relief pursuant to 28 U.S.C. § 2201(a) requesting a

                                                          18 judgment declaring the rights of Plaintiff Great American with respect to an actual controversy arising
                                                          19 under an insurance policy. Great American also asserts claims for affirmative damages against
                                                          20 Defendant H&H for reimbursement of settlement monies paid on H&H’s behalf in the underlying

                                                          21 Canyon Lake action.

                                                          22             6.    Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332, because the amount in

                                                          23 controversy exceeds $75,000.00 and there is complete diversity between the parties.

                                                          24             7.    Plaintiff Great American is an insurance company organized and existing under the

                                                          25 laws of the State of Ohio with its principal place of business in Cincinnati, Ohio.

                                                          26             8.    Defendant H&H is a corporation organized and existing under the laws of the State of

                                                          27 California with its principal place of business in Lake Forest, California.

                                                          28             9.    The amount paid by Great American on H&H’s behalf in settlement of the underlying

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                                                           1 Canyon Lake action exceeds $75,000.00.

                                                           2                                        VENUE ALLEGATIONS
                                                           3             10.   Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(a)(2) and (3) because this

                                                           4 is a civil action in which the subject matter jurisdiction is founded only on diversity of citizenship and

                                                           5 is brought in a judicial district in which the Defendant is subject to personal jurisdiction.

                                                           6             11.   This action is filed in the Southern Division of the United States District Court for the

                                                           7 Central District of California in compliance with Central District of California General Order 349, and

                                                           8 is proper under 28 U.S.C. §§1441(a) and 1446(a) because the Superior Court of the State of

                                                           9 California, County of Orange, is located in the U.S. District Court for the Central District of

                                                          10 California.

                                                          11                                       FACTUAL ALLEGATIONS
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                                                          12                                       I.      The Canyon Lake Action
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                                                          13             12.   This case arises out of H&H’s work as the general contractor on the Canyon Lake

                                                          14 Pavement Rehabilitation Project (the “Project”), which was performed in a gated community in

                                                          15 Riverside County known as Canyon Lake. The Project began in or about August 2012 and concluded

                                                          16 in or about February 2013. The work was performed pursuant to a July 5, 2012, contract between

                                                          17 H&H and the Canyon Lake Property Owners Association (“Canyon Lake”). According to the

                                                          18 contract, the scope of work consisted of removing and replacing the existing asphalt pavement
                                                          19 structural section with asphalt rubber hot mix or conventional hot mix asphalt, cold central plant
                                                          20 recycling, grind and overlay pavement, crack sealing, utility adjustment, and associated repair work to

                                                          21 the concrete curbs, gutters, cross-gutters, and spandrels at various locations throughout the

                                                          22 community. While H&H contracted with certain entities to provide product and services at the site, it

                                                          23 performed a majority of work at the site.

                                                          24             13.   Cracking of the asphalt was observed at the Project site beginning in May of 2013, and

                                                          25 premature and extensive cracking were observed in January and February of 2014. On June 5, 2015,

                                                          26 Canyon Lake filed a complaint against H&H and others, alleging excessive and premature cracking of

                                                          27 the asphalt that H&H had itself rehabilitated.

                                                          28             14.   A true and correct copy of the operative Third Amended Complaint (without exhibits)

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                                                           1 in the Canyon Lake action is attached hereto as Exhibit 1.

                                                           2                                         II.     The Insurance Policies
                                                           3             15.   As relevant here, Great American issued Excess Liability Policy No. TUE 5-95-00-69

                                                           4 to Hardy & Harper, Inc., for the policy period from July 1, 2012, to July 1, 2013 (the “Excess

                                                           5 Policy”). A true and correct copy of the Excess Policy is attached hereto as Exhibit 2.

                                                           6             16.   The Excess Policy is excess of, and generally follows form to, Scottsdale Insurance

                                                           7 Company Policy No. BCS 0028236, issued for the same policy period, which provides limits of $1

                                                           8 million per occurrence and $2 million in the aggregate, subject to a $2,500 per-occurrence deductible

                                                           9 for property-damage liability (the “Scottsdale Primary Policy”).

                                                          10             17.   The Scottsdale Primary Policy contains the following exclusion:

                                                          11                   l.       Damage To Your Work
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                                                          12                            “Property damage” to “your work” arising out of it or any part of it and
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                                                                                        included in the “products-completed operations hazard.”
                                                          13
                                                                                        This exclusion does not apply if the damaged work or the work out of which
                                                          14                            the damage arises was performed on your behalf by a subcontractor.

                                                          15             18.   The Scottsdale Primary Policy contains the following definitions:

                                                          16                   16.      “Product-completed operations hazard”:
                                                          17                            a.     Includes all “bodily injury” and “property damage” occurring away
                                                                                               from premises you own or rent and arising out of “your product” or
                                                          18                                   “your work” except:
                                                          19                                   (1)     Products that are still in your physical possession; or
                                                          20                                   (2)     Work that has not yet been completed or abandoned. However,
                                                                                                       “your work” will be deemed completed at the earliest of the
                                                          21                                           following times:

                                                          22                                           (a)    When all of the work called for in your contract has
                                                                                                              been completed.
                                                          23
                                                                                                       (b)    When all of the work to be done at the job site has been
                                                          24                                                  completed if your contract calls for work at more than
                                                                                                              one job site.
                                                          25
                                                                                                       (c)    When that part of the work done at a job site has been
                                                          26                                                  put to its intended use by any person or organization
                                                                                                              other than another contractor or subcontractor working
                                                          27                                                  on the same project.

                                                          28

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                                                           1                                                Work that may been service, maintenance, correction, repair or
                                                                                                            replacement, but which is otherwise complete, will be treated
                                                           2                                                as completed….

                                                           3                   22.          “Your work”:
                                                           4                                a.     Means:
                                                           5                                       (1)      Work or operations performed by you or on your behalf; and

                                                           6                                       (2)      Materials, parts or equipment furnished in connection with
                                                                                                            such work or operations.
                                                           7
                                                                                            b.     Includes:
                                                           8
                                                                                                   (1)      Warranties or representations made at any time with respect to
                                                           9                                                the fitness, quality, durability, performance or use of “your
                                                                                                            work”; and
                                                          10
                                                                                                   (2)      The providing of or failure to provide warnings or instructions.
                                                          11
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                                                          12             19.   Because the cracked asphalt at issue in the Canyon Lake action was H&H’s own work,
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                                                          13 the “your work” exclusion bars coverage.

                                                          14             20.   The Excess Policy, and the Scottsdale Primary Policy to which it follows form, contain

                                                          15 other terms, conditions, exclusions, and limitations that bar or limit coverage for the settlement in the

                                                          16 Canyon Lake action.

                                                          17                         III.        Great American’s Coverage Correspondence to H&H
                                                          18             21.   Great American sent a reservation-of-rights letter to H&H on November 8, 2018,
                                                          19 which reserved the right to deny or limit coverage on various grounds, including the “your work”
                                                          20 exclusion. The letter advised that Great American believed that the Excess Policy likely provided no

                                                          21 coverage for the Canyon Lake action.

                                                          22             22.   Great American was later advised that H&H had received a $2.5-million settlement

                                                          23 demand from Canyon Lake, and that H&H’s primary insurer, Scottsdale, had agreed to contribute its

                                                          24 $1-million policy limit towards the settlement demand. H&H demanded that Great American pay the

                                                          25 remaining $1.5 million portion of the settlement demand.

                                                          26             23.   In support of its demand that Great American contribute $1.5 million towards the

                                                          27 settlement demand, counsel for H&H provided Great American with certain information that it

                                                          28 asserted supported its position. After considering H&H’s arguments and the information provided in

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                                                           1 support thereof, Great American provided a lengthy response to these arguments in an email dated

                                                           2 July 19, 2019.

                                                           3             24.   In response to H&H’s demand, Great American also issued a supplemental reservation-

                                                           4 of-rights letter on July 19, 2019. In that letter, Great American reiterated the fact that the “your work”

                                                           5 exclusion barred coverage and that other policy provisions could also bar or limit coverage. The letter

                                                           6 stated as follows, in pertinent part:

                                                           7                   However, as stated in prior communications and discussed further in this letter, Great

                                                           8                   American does not believe that any part of this remaining $1.5 million portion of the

                                                           9                   settlement demand is covered by its Excess Policy. Consequently, please be advised

                                                          10                   that any payment Great American makes towards the settlement demand will be

                                                          11                   subject to a full reservation of rights, including the right to seek reimbursement from
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                                                          12                   H&H for any payment made that is not covered by its Excess Policy. This reservation
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                                                          13                   of rights to seek reimbursement from H&H is made pursuant to the applicable portions

                                                          14                   of Blue Ridge Ins. Co. v. Jacobsen, 25 Cal. 4th 489, 502 (2001) and/or Buss v. Superior

                                                          15                   Court, 16 Cal.4th 35, 50-53 (1997) and other applicable California law.

                                                          16             25.   Counsel for H&H responded to Great American’s supplemental reservation-of-rights

                                                          17 letter with a letter dated July 25, 2019, in which H&H took issue with Great American’s coverage

                                                          18 position, reiterating the points that H&H had previously made.
                                                          19             26.   Great American responded to H&H’s letter the next day. In its July 26, 2019 letter,
                                                          20 Great American reiterated its previously stated position that the Excess Policy did not provide

                                                          21 coverage. The letter then stated as follows, in pertinent part:

                                                          22                   However, based on H&H’s demand that Great American pay $1,500,000 towards the

                                                          23                   settlement, and defense counsel’s opinion that the settlement is reasonable, Great

                                                          24                   American agrees to pay $1,500,000 subject to a full and complete reservation of its

                                                          25                   rights, including the right to seek reimbursement from H&H for any amounts that are

                                                          26                   not covered under its Excess Policy pursuant to the applicable portions of Blue Ridge

                                                          27                   Ins. Co. v. Jacobsen, 25 Cal.4th 489, 502 (2001) and/or Buss v. Superior Court, 16

                                                          28                   Cal.4th 35, 50-53 (1997), and other applicable California law.

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                                                           1             27.   Great American subsequently paid $1.5 million to counsel for Canyon Lake on behalf

                                                           2 of H&H in settlement of the Canyon Lake action.

                                                           3                                       FIRST CAUSE OF ACTION
                                                           4                         (Declaratory Relief Regarding the Duty to Indemnify)
                                                           5             28.   Plaintiff adopts and reasserts the allegations contained in paragraphs 1 through 27 as if

                                                           6 fully set forth herein.

                                                           7             29.   This is an action for declaratory relief pursuant to 28 U.S.C. § 2201(a) requesting a

                                                           8 judgment declaring the rights of Plaintiff Great American with respect to an actual controversy arising

                                                           9 under an insurance policy. Great American seeks a judicial determination that the Excess Policy does

                                                          10 not provide coverage for the Canyon Lake action and it therefore had no duty to indemnify H&H for

                                                          11 the settlement in the underlying Canyon Lake action.
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                                                          12             30.   Great American contends, among other things, that it had no duty to indemnify H&H
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                                                          13 for the settlement in the Canyon Lake action because the property damage at issue–cracked asphalt–

                                                          14 was to H&H’s own work. Therefore, the “your work’ exclusion in the Excess Policy bars coverage.

                                                          15 Any alleged property damage to property other than H&H’s own work was de minimis and well

                                                          16 within the limits of the Scottsdale Primary Policy. Other terms, conditions, exclusions, and limitations

                                                          17 in the Excess Policy and the Scottsdale Primary Policy also apply to bar or limit coverage for the

                                                          18 settlement in the Canyon Lake action.
                                                          19             31.   Great American is informed and believes and on that basis alleges that H&H disagrees
                                                          20 with Great American’s contentions, and that H&H contends that Great American was obligated under

                                                          21 the terms of the Excess Policy to indemnify H&H for the settlement of the underlying Canyon Lake

                                                          22 action.

                                                          23             32.   An actual controversy has arisen and now exists between Great American on the one

                                                          24 hand, and H&H on the other, regarding Great American’s duty to indemnify H&H in the Canyon Lake

                                                          25 action.

                                                          26             33.   This Court is vested with the power in the instant case, and Great American hereby

                                                          27 respectfully requests a judicial determination and declaratory judgment of its rights with respect to its

                                                          28 duty to indemnify H&H in the Canyon Lake action.

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                                                           1             34.       Such a judicial declaration is necessary and appropriate at this time in view of the

                                                           2 controversy and genuine dispute between Plaintiff Great American on the one hand and Defendant

                                                           3 H&H on the other hand, as described above.

                                                           4                                            SECOND CAUSE OF ACTION
                                                           5                                     (Reimbursement of Indemnity Payment)
                                                           6             35.       Plaintiff adopts and reasserts the allegations contained in paragraphs 1 through 34 as if

                                                           7 fully set forth herein.

                                                           8             36.       Great American had no duty under the Policy to indemnify H&H for the settlement in

                                                           9 the underlying Canyon Lake action because the Excess Policy does not provide coverage for the

                                                          10 action.

                                                          11             37.       Great American paid $1,500,000 in indemnity towards the settlement of the underlying
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                                                          12 Canyon Lake action on H&H’s behalf, subject to a complete reservation of rights, including the right
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                                                          13 to seek reimbursement of the $1,500,000. Accordingly, Great American has an equitable and quasi-

                                                          14 contractual right to be reimbursed by H&H for the $1,500,000 Great American paid to indemnify

                                                          15 H&H for the settlement in the underlying Canyon Lake action, pursuant to, among other things, the

                                                          16 principles articulated in Blue Ridge.

                                                          17                                              PRAYER FOR RELIEF
                                                          18             WHEREFORE Plaintiff Great American prays for judgment against H&H as follows:
                                                          19             1. For a declaration that, by reason of the terms, conditions, exclusions, and limitations of the
                                                          20                   Excess Policy, Plaintiff had no obligation under the Excess Policy to indemnify H&H for

                                                          21                   the settlement in the underlying Canyon Lake action;

                                                          22             2. For a judgment that, by reason of the terms, conditions, exclusions, and limitations of the

                                                          23                   Great American Excess Policy, Plaintiff is entitled to reimbursement from H&H of the

                                                          24                   $1,500,000 it paid on H&H’s behalf towards the settlement of the underlying Canyon Lake

                                                          25                   action, plus interest;

                                                          26             3. On all causes of action, for costs incurred herein; and

                                                          27             4. For such other and further relief as this Court deems just and proper.

                                                          28

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                                                           1 Dated: August 17, 2020               CLYDE & CO US LLP

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                                                           3
                                                                                                  By:
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                                                                                                        GREAT AMERICAN INSURANCE COMPANY
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